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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                             )
                                                      )
                              Plaintiff,              )
                                                      )
                         v.                           )     No. 1:15-cr-00029-SEB-DKL
                                                      )
ARNOLD JONES,                                         ) -01
                                                      )
                              Defendant.              )




                ORDER ADOPTING REPORT AND RECOMMENDATION

       Having reviewed Magistrate Judge Paul R. Cherry’s Report and Recommendation that

Arnold Jones’s supervised release be revoked, pursuant to Title 18, U.S.C. §3401(i) and Rule

32.1(a)(1) Federal Rules of Criminal Procedure and Title 18 U.S.C. §3583, the Court now

approves and adopts the Report and Recommendation as the entry of the Court, and orders a

sentence imposed of imprisonment of six (6) months in the custody of the Attorney General or

his designee, with no supervised release to follow.

       SO ORDERED.

                                                      _______________________________
       Date: ______________________
                 5/25/2022
                                                      SARAH EVANS BARKER, JUDGE
                                                      United States District Court
                                                      Southern District of Indiana
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